      Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 1 of 28




                IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

MATCH GROUP, LLC,

             Plaintiff,

     v.
                                      Civil Action No. 6:18-cv-00080-ADA
BUMBLE TRADING, INC., and
BUMBLE HOLDING, LTD.


             Defendants.


          DEFENDANTS’ OPENING CLAIM CONSTRUCTION BRIEF
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 2 of 28


                                                     Table of Contents

                                                                                                                                  Page


I.     INTRODUCTION ............................................................................................................. 1
II.    OVERVIEW OF THE ASSERTED PATENTS................................................................ 1
III.   LEGAL STANDARDS ..................................................................................................... 4
       A.        Claim Construction ................................................................................................ 4
       B.        Indefiniteness ......................................................................................................... 5
IV.    DISPUTED CLAIM TERMS ............................................................................................ 5
       A.        the “graphical representation” terms ...................................................................... 6
       B.        “social networking platform” ............................................................................... 11
       C.        “without allowing” ............................................................................................... 13
       D.        “prevent[ing] communication” ............................................................................ 16
       E.        “associated”.......................................................................................................... 18
       F.        “the text area” ...................................................................................................... 21
V.     CONCLUSION ................................................................................................................ 22
            Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 3 of 28




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Agfa Corp. v. Creo Prods. Inc.,
   451 F.3d 1366 (Fed. Cir. 2006)................................................................................................13

Anchor Wall Sys., Inc. v. Rockwood Retaining Walls, Inc.,
   340 F.3d 1298 (Fed. Cir. 2003)............................................................................................7, 12

Capital Security Sys., Inc. v. NCR Corp.,
   752 Fed. Appx. 952 (Fed. Cir. 2018) .......................................................................................25

Cat Tech LLC v. TubeMaster, Inc.,
   528 F.3d 871 (Fed. Cir. 2008)..................................................................................................18

Comark Commc’ns, Inc. v. Harris Corp.,
  156 F.3d 1182 (Fed. Cir. 1998)............................................................................................7, 12

Cordis Corp. v. Boston Sci. Corp.,
   658 F.3d 1347 (Fed. Cir. 2011)................................................................................................18

Cordis Corp v. Medtronic Ave, Inc.,
   511 F.3d 1157 (Fed. Cir. 2008)................................................................................................13

Desper Prods., Inc. v. QSound Labs, Inc.,
   157 F.3d 1325 (Fed. Cir. 1998)..........................................................................................18, 20

ePlus, Inc. v. Lawson Software, Inc.,
   700 F.3d 509 (Fed. Cir. 2012)....................................................................................................8

Imaginal Systematic, LLC v. Leggett & Platt, Inc.,
   805 F.3d 1102 (Fed. Cir. 2015)................................................................................................13

Interactive Gift Express, Inc. v. Compuserve Inc.,
    256 F.3d 1323 (Fed. Cir. 2001)..................................................................................................9

InterDigital Commc’ns, Inc. v. ZTE Corp.,
    711 Fed. Appx. 998 (Fed. Cir. 2017) .......................................................................................13

Kaneka Corp. v. Xiamen Kingdomway Grp.,
   790 F.3d 1298 (Fed. Cir. 2015)..........................................................................................19, 20

Markman v. Westview Instrs., Inc.,
  517 U.S. 370 (1996) ...................................................................................................................7
             Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 4 of 28


                                                        Table of Authorities
                                                            (continued)
                                                                                                                                     Page(s)


Media Rights Techs., Inc. v. Capital One Financial Corp.,
  800 F.3d 1366 (Fed. Cir. 2015)................................................................................................23

Mesh Comm, LLC v. PEPCO Energy Servs.,
   No. 09-cv-2804, 2010 Markman 5463934 (D. Md. Dec. 29, 2010) ........................................22

Microsoft Corp. v. Multi-Tech Sys., Inc.,
   357 F.3d 1340 (Fed. Cir. 2004)..................................................................................................7

Nautilus, Inc. v. Biosig Instruments, Inc.,
   134 S. Ct. 2120 (2014) ...........................................................................................................4, 8

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)............................................................................................7, 12

Pitney Bowes, Inc. v. Hewlett-Packard Co.,
    182 F.3d 1298 (Fed. Cir. 1999)..................................................................................................7

Rexnord Corp. v. Laitram Corp.,
   274 F.3d 1336 (Fed. Cir. 2001)................................................................................................15

Southwall Techs., Inc. v. Cardinal IG Co.,
   54 F.3d 1570 (Fed. Cir. 1995)....................................................................................................7

Starhome GmbH v. AT&T Mobility LLC,
    743 F.3d 849 (Fed. Cir. 2014)....................................................................................................8

Teleflex, Inc. v. Ficosa North Am. Corp.,
   299 F.3d 1313 (Fed. Cir. 2002)................................................................................................12

Verizon Servs. Corp. v. Vonage Holdings Corp.,
   503 F.3d 1295 (Fed. Cir. 2007)................................................................................................14

Versata Software, Inc. v. Internet Brands, Inc.,
   No. 08-cv-313-WCB, 2012 Markman 15861 (E.D. Tex. Jan. 4, 2012)...................................22

Vitronics Corp. v. Conceptronic, Inc.,
    90 F.3d 1576 (Fed. Cir. 1996)....................................................................................................7

Statutes

35 U.S.C. § 112 ................................................................................................................................8
           Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 5 of 28




I.       INTRODUCTION

         Bumble Trading, Inc. and Bumble Holding, Ltd. (collectively, “Bumble”) respectfully

submit that there are four claim terms in need of construction and two claim terms that are

indefinite. While Bumble proposes constructions appropriately giving the four non-ambiguous

claim terms the meaning they have in view of the intrinsic record and relies on extrinsic evidence

consistent with the intrinsic record, Plaintiff Match Group, LLC attempts to alter the scope and

meaning of the terms contrary to the intrinsic evidence or punts to “plain meaning.” Contrary to

the fundamental principles of patent law, Plaintiff’s proposals turn a blind-eye toward the intrinsic

evidence, as well as what the patentee claimed as its invention and represented to the PTO.

Accordingly, the Court should adopt Bumble’s proposed constructions.

         Moreover, the asserted claims recite ambiguous limitations that render them indefinite

under the Supreme Court’s Nautilus standard. A main driver behind this standard was that “absent

a meaningful definiteness check, we are told, patent applicants face powerful incentives to inject

ambiguity into their claims.” The present claims do just that. Under Nautilus, the two claim terms

“associated” and “the text area” are indefinite for failing to provide clear notice of what is claimed.

For this reason, the Court should find these terms and the claims containing them indefinite.

II.      OVERVIEW OF THE ASSERTED PATENTS

         The asserted patents, U.S. Patent No. 9,733,811 (the “ʼ811 Patent”), U.S. Patent No.

9,959,023 (the “ʼ023 Patent”), and U.S. Patent No. 10,203,854 (the “ʼ854 Patent”) (Exs. 1-3),1

generally relate to methods and systems for profile matching. The asserted patents are directed to

presenting information from suggested matches’ profiles to users, navigating through the set of

presented matches by a simplistic user action, such as “swiping,” and/or allowing or preventing



1
    Each exhibit referenced herewith is attached to the Declaration of Rose Whelan.


                                                  1
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 6 of 28




communication between users based on whether or not mutual interest exists. All three patents

are directly related, share an identical specification, and both the ʼ023 and ʼ854 Patents are

continuations of the ʼ811 Patent.

        All of the claims of each patent require online dating profiles. (See ʼ811 Patent, ʼ023

Patent, ʼ854 Patent, all claims (claiming “user online-dating profile[s]”).)               Each profile

“compris[es] traits of a respective user.” (ʼ811 Patent, 1:66-2:1.2) Figure 1F of the patents

(reproduced below) depicts an embodiment of a display of a dating profile as a “presentation of

details of a match result entity to a user.” (Id., 2:65-67.)




The asserted patents further disclose that these profiles are imported from a “social networking

platform.” (Id., 19:45-67, 20:35-37; see also id., cls. 1, 4, 7; ʼ854 Patent, cls. 2, 5, 8, 11.)

        Once a potential match’s information is displayed to a user, the user “may navigate through

the set of presented users by swiping” and “express approval” and “disapproval” by performing a

right or left “swipe gesture,” respectively. (ʼ811 Patent, 21:59-66.) Alternatively, a user may

“express[] approval and disapproval” by “[p]ressing [a] like button” to indicate approval and


2
 Because the specifications of the ʼ811, ʼ023, and ʼ854 Patents are identical, for ease, the citations
hereafter refer only to the ʼ811 Patent. These disclosures, however, also apply to the ʼ023 and
ʼ854 Patents.


                                                    2
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 7 of 28




interest or by “[p]ressing [a] dislike button” to indicate disapproval and “not want[ing] to

communicate.” (Id., 21: 28:-36.) After a user does so, the system determines whether to allow or

prevent communication. Figures 10 and 11 (reproduced below) are flowcharts illustrating a

method for making this decision. (Id., 22:61-23:59.)




       Though each patent includes these figures and associated disclosures in the specification

regarding communication between users, the ʼ023 Patent does not claim communication. (See

ʼ023 Patent, all claims.) Rather, the claims of the ʼ023 Patent narrowly focus on presenting a

graphical representation of an online dating profile to a user on a graphical user interface, swiping,

and, in response to swiping, “automatically” presenting a graphical representation of a second

profile and “automatically” removing the graphical representation of the first. (See, e.g., id., cl.

1.)




                                                  3
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 8 of 28




III.    LEGAL STANDARDS

        A.     Claim Construction

        The principles of claim construction are well established. Claim construction is a matter

of law to be determined by the Court. Markman v. Westview Instrs., Inc., 517 U.S. 370, 384, 390

(1996). Claim terms are construed by giving words of the claim the meaning they would have to

one of ordinary skill in the art “in view” of the intrinsic record consisting of the claims,

specification, and file history. Phillips v. AWH Corp., 415 F.3d 1303, 1313-1314 (Fed. Cir. 2005)

(sources for claim construction include “the words of the claims themselves, the remainder of the

specification, the prosecution history”); Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir. 1996). “The starting point for any claim construction must be the claims themselves.”

Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed. Cir. 1999). Once a court

has examined the claim language, it may then consider the rest of the intrinsic evidence, beginning

with the specification and concluding with the prosecution history. Vitronics Corp, 90 F.3d at

1582.

        The Court, however, cannot construe the claims to cover subject matter broader or narrower

“than that which the patentee itself regarded as comprising its inventions and represented to the

PTO.” Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1349 (Fed. Cir. 2004). In doing

so, the Court must not read limitations from the specification into the claims, which is forbidden.

Anchor Wall Sys., Inc. v. Rockwood Retaining Walls, Inc., 340 F.3d 1298, 1308 (Fed. Cir. 2003);

Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1186-87 (Fed. Cir. 1998).

        Similarly, “evidence extrinsic to the patent and prosecution history, such as expert

testimony, cannot be relied on to change the meaning of the claims when that meaning is made

clear” in the intrinsic record. Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1578 (Fed.

Cir. 1995) (emphasis added). Nonetheless, courts may also consider extrinsic evidence, such as a


                                                4
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 9 of 28




dictionary definition or expert testimony, that “‘does not contradict any definition found in or

ascertained by a reading of the patent documents.’” Starhome GmbH v. AT&T Mobility LLC, 743

F.3d 849, 856 (Fed. Cir. 2014) (quoting Phillips, 415 F.3d at 1322-23.)

       B.      Indefiniteness

       “[I]ndefiniteness is a question of law and in effect part of claim construction.” ePlus, Inc.

v. Lawson Software, Inc., 700 F.3d 509, 517 (Fed. Cir. 2012). All claims must satisfy the

definiteness standard of 35 U.S.C. § 112. The Supreme Court has made clear that “a patent is

invalid for indefiniteness if its claims, read in light of the specification delineating the patent, and

the prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the

scope of the invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124 (2014).

A claim is thus indefinite if one of ordinary skill cannot reasonably determine the scope of the

claim. Id. at 2129-30. Moreover, “a patent must be precise enough to afford clear notice of what

is claimed, thereby “‘appris[ing] the public of what is still open to them.’” Id. at 2129 (citing

Markman, 517 U.S. at 373 (citation omitted)).

IV.    DISPUTED CLAIM TERMS

       The parties dispute the scope and meaning of the following claim terms. Bumble’s

constructions are well rooted in the intrinsic record.




                                                   5
          Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 10 of 28




         A.     the “graphical representation” terms

    Bumble’s Construction3                  Plaintiff’s Construction
    “summary of information [displayed on a “pictorial portrayal”
    graphical user interface]4”

         Bumble’s proposed construction is fully supported by the intrinsic record, whereas

Plaintiff’s proposed construction improperly restricts the term “graphical representation” to a

“pictorial portrayal,” reading out disclosed embodiments and express teachings of the patents.

         Claim construction begins with the claims themselves. Interactive Gift Express, Inc. v.

Compuserve Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001) (“In construing claims, the analytical focus

must begin and remain centered on the language of the claims themselves, for it is that language

that the patentee chose to particularly point out and distinctly claim the subject matter which the

patentee regards as his invention.”) (internal quotations omitted). Each asserted patent claims a

“graphical representation,” and the claims use the term in connection with the display of

something, such as an online dating profile or an item of information. (ʼ811 Patent, cls. 1, 4, 7;

ʼ023 Patent, cls. 1, 2, 3, 5; ʼ854 Patent, cls. 1, 4, 7, 10.) An online dating profile or an item of

information, according to the specification, can include information “such as height, weight, age,



3
  The claims recite “a graphical representation of a [first, second, third, etc.] potential match”, “a
graphical representation of a [first, second] online dating profile associated with a [first, second]
user”, and “a graphical representation of a [first, second] item of information.” (ʼ811 Patent, cls.
1, 4, 7; ʼ023 Patent, cls. 1, 2, 3, 5; ʼ854 Patent, cls. 1, 4, 7, 10.) Bumble proposes construing these
claims as: “a summary of information displayed on a graphical user interface representing a [first,
second, third, etc.] potential match”; “a summary of information displayed on a graphical user
interface representing a [first, second] online dating profile associated with a [first, second] user”;
and “summary of information displayed on a graphical user interface representing a [first, second]
item of information,” respectively.
4
   A person of ordinary skill would understand the term “graphical representation” to mean
“summary of information displayed on a graphical user interface.” Because some of the claim
limitations that contain this term make it clear that the graphical representation is displayed on a
graphical user interface, (see, e.g., ʼ811 Patent, cl. 1 (“cause[s] the display of a graphical
representation . . . to the first user of a graphical user interface”)), the un-bracketed portion may
be inserted into the claim language to avoid unnecessary repetition.


                                                  6
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 11 of 28




location, income and ethnicity.” (ʼ811 Patent, 20:21-23.) Thus, a “graphical representation” of an

online dating profile or an item of information need not contain a picture.

       While the term “graphical representation” is never mentioned in the specifications, the

specifications mention “displaying to a user the profile information of a second user,” when

displaying a first potential match. (Id., 3:13-14 (emphasis added).) The specifications further

disclose that when the system displays a potential match, “[u]ser 14 may be presented with a

summary of information regarding a suggested user.” (Id., 21:18-19 (emphasis added).) This

“summary may include one or more of: a picture, an icon, a name, location information, gender,

physical attributes, hobbies, or other profile information.” (Id., 21:19-22 (emphasis added).) In

light of this disclosure, the “graphical representation” displayed can then be a number or

combination of these items, and is not limited to nor does it necessarily include a picture or

“pictorial portrayal.” (Id.) For example, a “graphical representation” could include an icon, name,

and gender displayed on a graphical user interface. The specifications also refer to Figure 1F

(reproduced below), which depicts one embodiment of a profile or item or information and is more

than just a picture of the potential match, including information such as the match’s birthday,

hometown, likes, and dislikes as a card-based metaphor for display on a graphical user interface.

(Id., 6:12-22, Figure 1F; see also Declaration of Christopher Schmandt (“Schmandt Decl.”)5, ¶¶

28-30.) This entire card, not just the picture, is one embodiment of a “graphical representation”

of “Jane Doe.” (Schmandt Decl., ¶ 30.)




5
 The Declaration of Mr. Christopher Schmandt in Support of Defendants’ Opening Claim
Construction Brief is filed herewith.


                                                 7
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 12 of 28




This intrinsic evidence undermines Plaintiff’s proposal. Bumble’s proposal, on the other hand,

captures the proper breadth of the term as informed by the specifications; a “graphical

representation” is a “summary of information” displayed on a graphical user interface regarding a

“potential match,” “online dating profile,” or “item of information.”

       The extrinsic evidence further supports Bumble’s proposed construction and comports with

the intrinsic evidence. (See id., ¶¶ 26-30.) According to Mr. Schmandt, a person of ordinary skill

in the art would interpret a “graphical representation” to be anything that appears on a graphical

user interface.6 (Id., ¶ 27.) Some combination of a picture, an icon, location information, gender,


6
   The claims require that the “graphical representation” be displayed “on a graphical user
interface.” (See, e.g., ʼ811 Patent, cl. 1 (“causing the display of a graphical representation of a
first potential match of the set of potential matches to the first user on a graphical user interface”)
(emphasis added).) The dictionaries provided by Plaintiff provide further support for Bumble’s
definition and is consistent Mr. Schmandt’s opinion of the understanding of a person with ordinary
skill in the art. The dictionaries define a “graphical user interface” as: “computing a visual way of
interacting with a computer by using items such as windows, icons, and menus, used by most
modern operating systems” (Ex. 4, Oxford Dictionary of English at 1406); “a user interface that is
graphical in nature; that is, the user can enter commands by using a mouse, icons, and windows”
(Ex. 5, The Authoritative Dictionary of IEEE Standards Terms, 7th Ed., at 487); and “a computer
program designed to allow a computer user to interact easily with the computer typically by
making choices from menus or groups of icons” (Ex. 6, Merriam Webster’s Collegiate Dictionary,
11th Ed., at 545). None of these definitions limit a graphical user interface as that which displays
only a “pictorial portrayal.” Rather, consistent to these definitions, a graphical user interface can
display text, icons, images, and some combination thereof.


                                                  8
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 13 of 28




physical attributes, or text would fit this definition. (Id., ¶¶ 28-30.) Thus, the meaning of

“graphical representation” is not limited to an image or a “pictorial portrayal” to one of ordinary

skill in the art. (Id., ¶¶ 26-30.)

        With its proposal, Plaintiff commits a “cardinal sin” of claim construction―reading an

embodiment from the specification into the claims. Teleflex, Inc. v. Ficosa North Am. Corp., 299

F.3d 1313, 1324, 1327-28 (Fed. Cir. 2002) (finding the district court erred by importing limitations

from the specification into the claim); see also Anchor Wall Sys., 340 F.3d at 1306-07

(“Notwithstanding the fact that the claim language must be examined in light of the written

description, limitations may not be read into the claims from the written description . . . .”)

(emphasis added); Phillips, 415 F.3d at 1323 (“although the specification often describes very

specific embodiments of the invention, we have repeatedly warned against confining the claims to

those embodiments”) (emphasis added); see also Comark Commc’ns, 156 F.3d at 1187. The

specifications include Figure 6 (reproduced below), and explicitly state that Figure 6 “shows one

embodiment of system 100 displaying to a user the profile information of a second user.” (ʼ811

Patent, 21:1-2 (emphasis added), Figure 6.) Moreover, even Figure 6 shows an embodiment that

where an online dating profile is graphically represented by more than just a picture. The entire

“card 88” in Figure 6 is the claimed “graphical representation,” and it also includes text. (ʼ811

Patent, 21:12-15, Figure 6.; see also Schmandt Decl., ¶ 30.)




                                                 9
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 14 of 28




Hence, while the specifications mention an image of a suggested user, they also make it clear that

this is just one embodiment. InterDigital Commc’ns, Inc. v. ZTE Corp., 711 Fed. Appx. 998, 1003

(Fed. Cir. 2017) (finding it proper not to limit the scope of claim term to one of two preferred

embodiments where the claim language was broad enough to cover both embodiments); Agfa

Corp. v. Creo Prods. Inc., 451 F.3d 1366, 1376-77 (Fed. Cir. 2006). Accordingly, it would be

incongruous to adopt the example of a picture or an image as the construction of “graphical

representation.”

       There is no mention of “pictorial portrayal” in any of the claims. (See ʼ811 Patent, cls. 1,

4, 7; ʼ023 Patent, cls. 1, 2, 3, 5; ʼ854 Patent, cls. 1, 4, 7, 10.) And, inserting Plaintiff’s proposal

into the claims renders them nonsensical; it is unclear exactly what would comprise a “pictorial

portrayal” of an “item of information.” Additionally, if the inventors intended to cover solely a

“pictorial portrayal” of matches, they could have done so in the claims by unequivocally doing so

and using that language. Imaginal Systematic, LLC v. Leggett & Platt, Inc., 805 F.3d 1102, 1109-

10 (Fed. Cir. 2015) (district court properly refused to limit a claim limitation since nothing in the

intrinsic evidence showed that the patentee acted as his own lexicographer and limited the scope

of the term); Cordis Corp v. Medtronic Ave, Inc., 511 F.3d 1157, 1174 (Fed. Cir. 2008). Instead,

the inventors opted to use the broader term “graphical representation” and so the claims must be


                                                  10
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 15 of 28




afforded the broader meaning implicated by the term, as understood in light of the specification as

a whole.

        As discussed above, the specification provides support for a broader definition and

provides examples beyond a picture for a “graphical representation,” such as one or more of: “an

icon, name, location information, gender, physical attributes, hobbies, or other profile

information.” (ʼ811 Patent, 21:19-22.) It is inappropriate to “interpret claim terms in a way that

excludes disclosed examples in the specification.” Verizon Servs. Corp. v. Vonage Holdings

Corp., 503 F.3d 1295, 1305 (Fed. Cir. 2007). Hence, construing “graphical representation” to

mean a “pictorial portrayal” improperly narrows the scope of the term. For this reason, Plaintiff’s

construction should be rejected.

        Accordingly, the Court should adopt Bumble’s construction, which is supported by the

intrinsic record.

        B.      “social networking platform”

 Bumble’s Construction                      Plaintiff’s Construction
 “social networking platform independent of No construction necessary/plain and ordinary
 the system for profile matching”           meaning

        The intrinsic evidence makes it clear that the “social networking platform” referred to in

the ʼ811 and ʼ854 Patents’ claims is independent from the system for profile matching. (ʼ811

Patent, cls. 1, 4, 7; ʼ854 Patent, cls. 2, 5, 8, 11.) First, the claims of the patents themselves refer to

a system for profile matching separate from the claimed “social networking platform.” (Id.) As

an example, claim 7 of the ʼ811 Patent begins with claiming “[a] system for profile matching,

comprising:” and then recites “a social networking platform” separately and independently from

the profile matching system. (ʼ811 Patent, cl. 7.) Claim 5 of the ʼ854 Patent also illustrates this

demarcation of the system for profile matching and the “social networking platform”: the “system

of claim 4,” which is the “system for profile matching” is separate from “a social networking


                                                   11
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 16 of 28




platform.” (ʼ854 Patent, cl. 5.) The claims never conflate the system for profile matching and the

“social networking platform.”

       Second, “an examination of the written description and drawings is necessary to determine

whether the patentee has disclaimed subject matter or has otherwise limited the scope of the

claims.” Rexnord Corp. v. Laitram Corp., 274 F.3d 1336, 1342-43 (Fed. Cir. 2001).7 The

specifications of the patents here further support Bumble’s proposed construction and make clear

that the “social networking platform” is separate from the system for profile matching. Figure 4

of the ʼ811 and ʼ854 Patents (reproduced below) depicts “matching server 20, with pool 30” of the

system for profile matching as “configured to interact with another platform, such as social

networking platform 50, containing a set 52 of users.” (ʼ811 Patent, 15:54-67 (emphasis added).)




Several other disclosures in the specifications emphasize that the social networking system is

independent from the profile matching system.        The “summary” of the invention refers to

“importing user profiles from other social-networking systems.” (Id., 2:42-44 (emphasis added).)

Each disclosed embodiment is consistent with the summary of invention. For example, users “link

their user profiles” on the system for profile matching “to an existing profile within social


7
  Unlike Plaintiff, which attempts to improperly import limitations into its construction of
“graphical representation,” here, Bumble’s reliance on the specification aligns with the inventors’
use of “social networking platform” in the claims.


                                                12
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 17 of 28




networking platform.” (Id., 19:45-67.) Additionally the patents make clear that the system for

profile matching connects to the social networking platform through an application programming

interface, further highlighting that they are not one and the same. (Id., 19:54-59.)

        Moreover, the specifications highlight motivation and justification for interacting with a

separate social networking platform. (Id., 16:1-6 (“This level of integration provides the advantage

of users not having to learn and sign up for a different platform.”), 19:38-44 (“This level of

integration provides the advantage of users only having to update their profile information in one

place. For example, when user 14 updates his profile within social networking platform 50,

matching server 20 is also able to access the updated profile information.”), 20:2-6 (“For example,

creating a user profile on matching server 20 containing false information becomes harder when

the information must come from another verifiable and peer monitored source such as social

networking platform 50.”).) In sum, overwhelming evidence in the intrinsic record supports

Bumble’s proposed construction for “social networking platform” as a “social networking platform

independent of the system for profile matching.”

        C.      “without allowing”

 Bumble’s Construction                             Plaintiff’s Construction
 “an affirmative act to ensure                  no No construction necessary/plain and ordinary
 communication between two users”                  meaning

        The term “without allowing” only appears in the claims of the ʼ854 Patent, which were

drafted after the filing of this lawsuit. (ʼ854 Patent, cls. 1, 4, 7, 10.) Claim 1, for example, recites

        receiv[ing] from the first electronic device of the first user a first negative
        preference indication associated with a graphical representation of a third potential
        match on the graphical user interface . . .;
        without allowing communication between the first user and third user, receive
        from the first electronic device of the first user a second positive preference
        indication associated with a graphical representation of a fourth potential match on
        a graphical user interface. . . .




                                                  13
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 18 of 28




(See, e.g., id., cl. 1.) Though the specification does not use the term “without allowing,” it does

discuss “allow[ing]” and “not allow[ing]” communication between users. (Id., 23:26-33, 24:1-4.)

As an example, with respect to Figure 10 the specification discloses that if a user “disapproves of

the presented user profile then a match is not made, and, at step 1016, matching server 20 will not

allow communication between the two users.” (Id., 23:30-33 (emphasis added).) Likewise, for

Figure 11, if “matching server 20 determines the suggested matching proposal is not valid,

matching server 20 does not create a match and does not allow communication between second

and third users 14 at step 1108.” (Id., 24:1-4 (emphasis added).)

       Moreover, both Figures 10 and 11 (reproduced below) are flowcharts depicting methods

for enabling communication between two users of the matching system. (Id., 23:10-39, 23:46-

24:8, Figs. 10 & 11.)




As described in the specification, both Figures 10 and 11 include the steps 1016 and 1108,

respectively, of “not allow[ing] communication” between users in response to receiving and



                                                14
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 19 of 28




storing user preferences. (Id.) This inclusion of these steps in the flowcharts indicates that the

profile matching system must affirmatively take these steps, just as it must take the others included

in the flowcharts.

       The ʼ854 Patent is a continuation of the ʼ811 Patent, and both patents share an identical

specification. During prosecution of the ʼ854 Patent, applicants filed a terminal disclaimer. (Ex.

7, ʼ854 Patent Prosecution History, at MTCH-0001189.) The prosecution history of the related

ʼ811 Patent is instructive. Cordis Corp. v. Boston Sci. Corp., 658 F.3d 1347, 1356 n.5 (Fed. Cir.

2011) (“Arguments made in the course of prosecuting the ʼ128 application are relevant, however,

because a disclaimer in the parent application carries forward into the construction of the same

claim term in the child.”) (internal citation omitted); Cat Tech LLC v. TubeMaster, Inc., 528 F.3d

871, 886 (Fed. Cir. 2008) (construing claims based on prosecution history of parent, which

“showed that the patentee relied on” certain facts “to distinguish over the prior art”).

       During prosecution of the ʼ811 Patent, applicants added analogous claim limitations of

“prevent[ing] communication” in an attempt to overcome prior art. In doing so, applicants

described their invention as “enabling and disabling communication.”            (Ex. 8, ʼ811 Patent

Prosecution History, at MTCH-594.) Unlike the prior art, which allowed “open communication”

and for users to “communicate with each other prior to the ‘linking,’” according to applicants, their

invention “exclude[s] all other communications between the users when both users have not liked

each other.”    (Id. at MTCH-450, MTCH-174.)           Applicants’ statements during prosecution

demonstrates that their invention takes affirmative steps to prevent users from communicating.

See Desper Prods., Inc. v. QSound Labs, Inc., 157 F.3d 1325, 1337 (Fed. Cir. 1998)

(“[p]rosecution history is an important source of intrinsic evidence in interpreting claims because

it is a contemporaneous exchange between the applicant and the examiner”).




                                                 15
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 20 of 28




       Extrinsic evidence in the form of dictionary definitions confirms that “without allowing”

is commonly understood to require an affirmative step, as Bumble proposes. Merriam Webster

defines “allow” as “to forebear or neglect to restrain or prevent.” (Ex. 9, Merriam Webster

Collegiate Dictionary, 11th Ed., at 33.) Logically, “without allowing” then means “restrain[ing] or

prevent[ing],” both of which require action. This understanding, supported by extrinsic evidence,

is congruent to the meaning of the term in light of the intrinsic evidence. Kaneka Corp. v. Xiamen

Kingdomway Grp., 790 F.3d 1298, 1304 (Fed. Cir. 2015) (“Extrinsic evidence, such as dictionary

definitions, for example, may be useful when construing claim terms, ‘so long as the dictionary

definition does not contradict any definition found in or ascertained by a reading of the patent

documents.’”) (citing Phillips, 415 F.3d at 1322-23).

       D.      “prevent[ing] communication”

 Bumble’s Construction                          Plaintiff’s Construction
 “an affirmative act to ensure               no No construction necessary/plain and ordinary
 communication between two users”               meaning

       The intrinsic and extrinsic evidence, taken together, support Bumble’s proposed

construction for “prevent[ing] communication.” Claims 1, 4, and 7 of the ʼ811 Patent claim

“prevent[ing] communication” between users “in response to determining that” a user has

expressed a negative preference indication regarding another user. (ʼ811 Patent, cls. 1, 4, 7.) The

specification never uses the term “prevent” and instead discusses “allow[ing]” and “not

allow[ing]” communication between users.        (Id., 22:61-23:30, 23:42-59.)    The ʼ811 Patent

provides Figures 10 and 11, which depict methods for enabling communication between two users

of the matching system, as well. (Id., 22:61-64, 23:31-34, Figs. 10 & 11.) Both figures include

the step of “not allow[ing] communication.” The specification further discusses that if a user

“disapproves of the presented user profile then a match is not made, and, at step 1016, matching

server 20 will not allow communication between the two users.” (Id.) Because “not allow[ing]


                                                16
           Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 21 of 28




communication” is a separate step in the flowcharts containing other steps the system must take,

“not allow[ing] communication” too is an affirmative act the system must perform.

       During prosecution, the asserted claims did not include this aspect of applicants’ invention

and were rejected as invalid in light of the prior art. Applicants then relied on this aspect of its

invention to add the claim limitation of “prevent[ing] communication” between users in attempt

to overcome the prior art. (Ex. 8 at MTCH-585 (adding limitations in bold).) In doing so,

applicants described their invention as “enabling and disabling communication.” (Id. at MTCH-

594 (emphasis added).) Unlike the prior art, which allows “open communication” and for users to

“communicate with each other prior to the ‘linking,’” according to applicants, the claimed system

“has to exclude all other communications between the users when both users have not liked each

other.” (Id. at MTCH-450, MTCH-174.) Applicants’ statements during prosecution thus further

reinforce the understanding that the matching system must take affirmative steps to prevent users

from communicating. See Desper Prods., 157 F.3d at 1337.

       Extrinsic evidence, in the form of dictionary definitions, provides further insight into the

common understanding of “preventing” and further supports Bumble’s proposal. For example,

Merriam Webster defines “prevent” as “to keep from happening or existing; to hold or keep back:

hinder, stop; to impose an obstacle,” all of which encompass taking an affirmative action. (Ex. 9

at 984.)    The dictionary also states that “prevent implies taking advance measures against

something.” (Id.) Collins English Dictionary defines “prevent” similarly and likewise notes that

the word implicates action. (Ex. 10, Collins English Dictionary, at 1305 (defining “prevent” as

“to keep from happening, especially by taking precautionary action; to keep someone from doing

something; hinder, impede”).) This extrinsic evidence is consistent with the use of the term

“prevent[ing] communication” in the intrinsic record. Kaneka Corp., 790 F.3d at 1304 (citing




                                                17
          Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 22 of 28




Phillips, 415 F.3d at 1322-23). Taken together, the intrinsic and extrinsic evidence make clear

that “prevent[ing] communication” involves an affirmative act to ensure no communication

between users.

          E.      “associated”

    Bumble’s Construction                              Plaintiff’s Construction
    Indefinite                                         No construction necessary/plain and ordinary
                                                       meaning

          The claims use the term “associated” in a different context throughout the asserted claims.

Examples include:

      •   “a first swiping gesture associated with the graphical representation;”8

      •   “a positive preference indication associated with the first item of information;”

      •   “a first positive preference indication associated with the graphical representation”9

      •   “online-dating profiles . . . associated with a social networking platform;”

      •   “potential matches that are each associated with a geographic location;”

      •   “the first user associated with the first online dating profile;”

      •   “a right swiping direction associated with the gesture;” and

      •   “plurality of items of information to be displayed are associated with performing an
          action.”

(ʼ811 Patent, cls. 1, 3, 4, 6, 7; ʼ023 Patent, all claims; ʼ854 Patent, cls. 1, 2, 4, 5, 7, 8, 10, 11.)

“Associated” is generally used to describe a relationship between two things.



8
  The claims include a similar limitation: “a second swiping gesture associated with a graphical
representation.” (ʼ811 Patent, cls. 1, 4, 7.)
9
  The claims include similar limitations: “a first negative preference indication associated with a
graphical representation;” “a second positive preference indication associated with a graphical
representation;” “a second negative preference indication associated with a graphical
representation;” and “a third positive preference indication associated with a graphical
representation.” (ʼ854 Patent, cls. 1, 4, 7, 10.)


                                                    18
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 23 of 28




       Courts have recognized that the definition of “associated” is not uniform and should be

construed based on how the word is used in the claims, which results in a variety of context-based

constructions. See Versata Software, Inc. v. Internet Brands, Inc., No. 08-cv-313-WCB, 2012

Markman 15861, at *6 (E.D. Tex. Jan. 4, 2012) (construing “associated with” to mean “stored in

the server and linked to an identification code for the user, such as a user name and/or password”

based on the specific relationship between an “identification code” and “user” disclosed in the

asserted patent); Mesh Comm, LLC v. PEPCO Energy Servs., No. 09-cv-2804, 2010 Markman

5463934, at *8-*10 (D. Md. Dec. 29, 2010) (construing “associated with” as “wirelessly

connected” based on the intrinsic record).

       The use of the term in the claim limitations here―particularly in “a first swiping gesture

associated with the graphical representation,” “a positive preference indication associated with the

first item of information,” and “a first positive preference indication associated with the graphical

representation”―render the term “associated” so vague that there is no discernable meaning to

one of ordinary skill in the art. (Schmandt Decl., ¶¶ 31-36.)

       With respect to each of these three limitations (and similar recited limitations), it is unclear

how the term “associated” should be interpreted as is the actually-required association between the

relevant claim language used in conjunction with the term. (Id.) For instance, with respect to “a

first swiping gesture associated with the graphical representation,” it is unclear whether the patents

claim a gesture that acts upon the graphical representation or if the gesture is linked to the graphical

representation in some way, or something else entirely. (Id., ¶¶ 32-33.) This same ambiguity

flows to the other limitations: is the preference indication acting upon the item of information or

the graphical representation or is the preference indication correlated to the item of information or




                                                  19
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 24 of 28




the graphical representation. (Id., ¶ 34.) How do the preference indications or gestures connect to

the items of information and graphical representations? (Id.)

       Moreover, the claims recite user action on a graphical user interface without explaining

how the user is interacting with the graphical representation. (Id., ¶ 35.) For the claimed swiping

gesture, for it to be “associated” with the graphical representation displayed on a graphical user

interface, it is unclear how the user must interact with the graphical user interface. (Id.) Does the

user need to swipe on top of the graphical representation or can they swipe anywhere on the

graphical user interface? (Id.) It is therefore difficult to discern the meaning of “associated” in

this context. (Id., ¶¶ 35-36.) The same reasoning applies for the positive preference indication,

which may be swiping, (see, e.g., ʼ811 Patent, 22:35-39), and the item of information or the

graphical representation. (Schmandt Decl., ¶¶ 35-36.)

       It is unclear what the relationship is between these things, such that one of ordinary skill in

the art would not understand what is meant by the term “associated” in the claims. Media Rights

Techs., Inc. v. Capital One Financial Corp., 800 F.3d 1366, 1371 (Fed. Cir. 2015) (a claim term

“is indefinite if its language ‘might mean several different things and no informed and confident

choice is available among the contending definitions’”) (quoting Nautilus, 134 S. Ct. at 2130, n.

8).

       Unlike the cases where “associated” has been construed, the intrinsic evidence here

provides no clarity.   The specifications fail to provide any definition for “associated” that

appropriately characterizes each claimed relationship. Rather, the specifications of the asserted

patents use “associated” in the same manner as the claim limitations―to indicate that there is a

relationship between different things without defining what that relationship is. (ʼ811 Patent, 3:56-

58 (“data (such as profiles, for example) associated with other users in order to make matching




                                                 20
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 25 of 28




decisions”), 13:44-45 (“matching server 20 will associate it with the profile and store it”).) These

disclosures demonstrate the inconsistent use of the term “associated” and underscore why the term

as used in the claims is ambiguous, such that no meaning is reasonably certain to one of ordinary

skill in the art.

        F.          “the text area”

 Bumble’s Construction                              Plaintiff’s Construction
 Indefinite                                         “a text area”

        Though Plaintiff’s proposal of “a text area” may cure an issue of lack of antecedent basis,

the term “the text area” (or “a text area”) is still vague and indefinite. As claimed in claims 2, 5,

and 8 of the ʼ811 Patent, the “text area” could refer to at least (1) an area depicting text on the

screen or (2) a text input area, where users may enter text to communicate. (Schmandt Decl., ¶¶

37-38.) Yet, as with other terms, “text area” never appears in the specification of the ʼ811 Patent.

Thus, the specification provides no guidance as to the meaning of the term.

        At best, the specification alleges that Figure 12D depicts “an example communication

interface between users of the matching system.” (ʼ811 Patent, 24:30-31, Fig. 12.) Supposedly,

in Figure 12D, a user “is presented with chat box 1208 for each of the matches that exist for user

14” and the users “may communicate” with one another through that box. (Id., 24:31-34, Fig. 12.)

All Figure 12D shows is a place to see messages. (Schmandt Decl., ¶¶ 37-38.) Figure 12D

(reproduced below) does not depict or actually disclose this “chat box” and it remains unclear

whether the “text area” is the “chat box” or whether the text area is an area with text on the screen.

(Id.)




                                                 21
         Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 26 of 28




        Because the ʼ811 Patent never defines, let alone uses, “text area” in the specification, it is

not reasonably certain to one of ordinary skill in the art what exactly is the “text area.” Therefore,

a “text area” could be one of two things, and the specification fails to illuminate which definition

is the correct one. (Id.) The intrinsic evidence fails to make the scope of the term “text area” clear

and, thus, the term is indefinite. Capital Security Sys., Inc. v. NCR Corp., 752 Fed. Appx. 952,

958-59 (Fed. Cir. 2018).

V.      CONCLUSION

     Bumble’s proposed constructions give the proper weight to all of the intrinsic record, including

the claims themselves, the specifications, and the prosecution history, while Plaintiff’s proposed

constructions fail to do so. Plaintiff’s attempts at altering the asserted patents’ claimed scope

should be rejected as improper in light of the intrinsic, and where appropriate, extrinsic evidence.




                                                 22
       Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 27 of 28




Dated: April 26, 2019                /s/ Joseph M. Drayton

                                      Deron R. Dacus (TX 00790553)
                                      THE DACUS FIRM, PC
                                      821 ESE Loop 323, Suite 430
                                      Tyler, TX 75701
                                      Telephone: (903) 705-1117
                                      Facsimile: (903) 581-2543
                                      ddacus@dacusfirm.com

                                      Joseph M. Drayton (pro hac vice)
                                      NY Bar No. 2875318
                                      COOLEY LLP
                                      1114 Avenue of the Americas
                                      New York, NY 10036
                                      Telephone: (212) 479-6000
                                      Facsimile: (212) 479-6275
                                      jdrayton@cooley.com

                                      Michael G. Rhodes (pro hac vice)
                                      CA Bar No. 116127
                                      Matthew Caplan (pro hac vice)
                                      CA Bar No. 260388
                                      COOLEY LLP
                                      101 California Street, 5th Floor
                                      San Francisco, CA 94111-5800
                                      Telephone: (415) 693-2000
                                      Facsimile: (415) 693-2222
                                      mrhodes@cooley.com
                                      mcaplan@cooley.com

                                      Rose S. Whelan (pro hac vice)
                                      DC Bar No. 999367
                                      COOLEY LLP
                                      1299 Pennsylvania Ave., N.W.
                                      Suite 700
                                      Washington, DC 20004
                                      Telephone: (202) 842-7800
                                      Facsimile: (202) 842-7899
                                      rwhelan@cooley.com

                                     Attorneys for Defendants Bumble Trading, Inc. and
                                     Bumble Holding, Ltd.




                                     23
        Case 6:18-cv-00080-ADA Document 76 Filed 04/26/19 Page 28 of 28




                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel of record on April 26, 2019.

                                                    Joseph M. Drayton
                                                    Joseph M. Drayton




                                               24
